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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 WP COMPANY LLC d/b/a THE
 WASHINGTON POST, et al.,

       Plaintiffs,
               v.                                      Civil Action No. 20-1240 (JEB)
 U.S. SMALL BUSINESS
 ADMINISTRATION,

       Defendant.



 CENTER FOR PUBLIC INTEGRITY,

       Plaintiff,
               v.                                      Civil Action No. 20-1614 (JEB)
 U.S. SMALL BUSINESS
 ADMINISTRATION,

       Defendant.


                                          ORDER

      For the reasons set forth in the accompanying Memorandum Opinion, the Court

ORDERS that:

      1. The temporary stay is LIFTED;

      2. Defendant’s Motion to Stay in Nos. 20-1240 and 20-1614 is DENIED; and

      3. Defendant shall release the names, addresses, and precise loan amounts for all

         individuals and entities that obtained COVID-related loans pursuant to the Paycheck

         Protection Program and Economic Injury Disaster Loans program by December 1,

         2020.


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                                               /s/ James E. Boasberg
                                               JAMES E. BOASBERG
                                               United States District Judge
Date: November 24, 2020




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